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                                      Exhibit B




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                                IN THE TJNITEI)SATES BANKRUPTCY COURT

                                            FOR THE DISTRICT OF DELAWARE


In re:                                                                     )      Chapter 11

ARECONT VISION HOLDINGS,LLC., et al.,l                                     )      Case No. 18-11142(CSS)

                                                                                 (Jointly Administered)

                                                 Debtors.                  )      Ref. Docket No.   57

               ORDER PURSUANT Tp SECTIONS lOS(a), 327,328, AND 3~0 OF THE
               BANKRUPTCY CODE AUTHQRIZING THE DEBTORS TO RETAIN,
              EMPLOY,AND COMPENSATE CERTAIN PROFESSIONALS UTILIZED
                 BY THE AEBTORS IN THE ORDINARY CQUR~E OF BUSINESS

                         U~aon consideration ofthe motion (the "Motion")2 filed by the above-captipned

Debtors and Debtprs in possession (the "Debtors"), for an prder pursuant to sections 10$(a), 327,

328, and 330 of the $ankruptcy Cgde, authorizing the Debtprs tQ (a)retain and employ the

Ordinary Course Prpfessionals on an "as needed" basis withput the submission of sepaarate,

formal retention applications for each Ordinary Course Frq~essipnal, and (b)establish procedures

to compensate the Qrdinary Course Professipnals under sections 328, 330, and 331 of the

Bankruptcy Code for p~stpetition services rendered and expenses incurred; the court finding that

(a)the Curt has jurisdiction fiver this matter pursuant to 28 U.S.C. §§ 157 and 1334,(b)this is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2),(c) venue of this case in this district is prgper

pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having determined that the relief

requested in the Motion is necessary to the ongoing orderly operation ofthe Debtors' business

'The Debtors and the last fqur digits of their U.S. tax identificatign number are Ar~cpnt Vision Holdings, LLC
(91&7), Arecont Visipn, LLC (141p), and Arecont Vision IC DISC.(537f). The Debtprs' npticing address in these
chapter 11 cases is 425 Colorado Street, Suite 709, Glendale, CA 91205.

z Capitalized terms used herein and not otherwise defined shall have the dame meaning as in the Motion.


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and is in the best interests Qfthe Debtors, their estate and its creditors; and it appearing that the

notice ofthe Motion having been given as set forth herein was appropriate and that no other or

further notice need by given; and objections, if any, to the Motion having been pverruled,

withdrawn, or gtherwise resolved at the hearing; and after due deliberation and good and

sufficient cause appearing therefpr; IT IS HEREBY pRDERED THAT:

                      1.          Thy Motion is granted as stated herein.

                      2.          Subject to the procedures set fprth belgw, the Debtors are authorized to

retain and employ, ~~ `*'                   ""~'+'"' ""+;~;~'-' r,,'t", the Ordinary Course Professionals listed on

Exhibit ~ *~ +'~~ "'~~~+~~~ ~ attached hereto (collectively, the "Ordinary Course Professionals"),

without the need to file separate, formal retention applications for each Ordinary Course

Professional and obtain retention orders for each effective as of the latest to occur of:(a the date

on which the C}rdinary Course Professional begins providing services to the Debtors,(h)the

Petition Tate• and ~)thirty (30) days prior to the date on v,~h_ich the Ordinary Course

Professional files its Declaration.

                      3.          Within five (S) business days after the date of entry of this Order, the

Debtors shall serve this order and the form of ~~{~~~~~-Declaration attached+~-~~=oz=~,=hereto

as Ex~iibit X13 upon each grdinary Cqurse Professional.

                      4.          On the later of(a)thirty (30) days after the entry of this Order or(b)prior

to the date an ordinary Cqurse Professional provides any services to the Debtors following the

Petition Date, each such Ordinary Course Frofessipnal shall-file with this Court, and serve upon
                                                                                           tH
(a) counsel to the Debtors,(i) Pachulski Stang Ziehl &Jones LLF,919 North Market Street, 17


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Floor, P.O. Box 8705, Wilmington, DE 19899-$705 (Gqurier 19$41), Attn.: James E. O'Neill,

Esq. and Fachulski Stang Ziehl &Jones LLP, 10100 Santa Monica $lvd., 13th Floor, Los

Angeles, CA 90067; Attn: Ira D. Kharasch, Esq.;(b) any committee appointed in this case;(c)

counsel to the IaIP Agent and DIP Lenders, Baker Botts, L.L.P., 3Q Rockefeller Plaza, New

York, NY 10012; Attn: Emanuel C. Grillo; and(d)the Office ofthe United States Trustee, 844

King Streets Suits 2247, Lockbox 35, Wilmington, Delaware 19801, Attn: Benjamin Hackman,

Esq.(collectively, the "Notice Parties"), a disclosure ~€f~~~~declaration of the proposed

professional (the ""1--Declaration")in substantially the form attached *^ *'~~ "'~~+~^~~ hereto

as Exhibit EB,which includes the following information:(a) a description of the efforts) that

were taken to search for connections with parties in interest;(b)a description of the proposed

scope of services to be provided by such Ordinary Course Professional;(c)the rates) proposed

to be charged for the services;(d) all information otherwise required to be disclosed pursuant to

Rule 2014 ofthe Federal Rules of Bankruptcy Procedure; ~~-(e)to the extent that such Ordinary

Course Professional was not providing services as of the Petition Date, the date on which such

services began postpetition and ~~ disclose any repetition amounts the Debtor owe to the

Ordinary Course Pra1'essional.

                       5.         The Notice Parties shall have ten(10) days after service of each Ordinary

Course Professional's "~z-~z~Tin--:Declaration (the "Objection Period")to object to the retention of

such professional. Any such objections shall be timely served upon the Ordinary Course

Professional to whom the objection applies, the Debtors, and the other Notice Parties. If any

such objection is filed and cannot be resolved and/or withdrawn within twenty(20) days after



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service of such objection, this Court shall adjudicate the matter at a hearing scheduled by the

Debtors at a mutually convenient time. If no timely objection is filed and received in respect of

each Ordinary Course Professional, or if any objection is withdrawn,the Debtors shall be

authorized to retain such Ordinary Course Professional as a final matter without further order of




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                         6.            The Debtors may not make any payments to any Ordinary Course

Professionals unless (i) such Ordinary Course Professional has filed the "{1-.-n~Pi~Declaration,(ii)

the Objection Period has expired, and (iii) no timely objection is pending, or, if a timely

objection is received,(a) the objection is resolved and withdrawn or(b)such retention is

otherwise approved by the Court.

                          7.           The Debtors are authorized, without need for further hearing or order from

this Court, to employ and retain Ordinary Course Professionals not currently listed on Exhibit ~

{^ +~~ T~^+;~~~ A hereto by filing with this Court, and serving on the other Notice Parties, a

Supplemental Notice listing the name of such proposed Ordinary Course Professional, together

with a brief description of the services to be rendered, and by otherwise complying with the

terms of this Order, including, without limitation, the procedures set forth in paragraphs 4, 5, and

6 hereof. For an~added OrdinarX Course Professional, such professional's retention will be

effective upon the latest to occur of• (a)the date nn which the Ordinary Course Professional.


                                                                               4
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be ids pravidin~ services to the Debtors;(b)the Petition Date, and (c thirty (30) da~~riar to

the date on which the Ordinary Course Professional files its Declaration.

                                   The Debtors are authorized, but not directed, to pay to each Qrdinary

Course Frpfessipnal and any other Ordinary Course Professionals retained pursuant to the terms

of this Order, qne hundred percent(100%)of each such Ordinary Course Professipnal's fees and

~xp~nses, in the manner customarily made by the Debtors; provided, howeveN, that the fees and

disbursements for any Qne Ordinary Course Professional shall not exceed a total of $25,000 per

month on average over a rolling four-month period, unless otherwise authorized by this Court

(the "MonthlX Cap") and the aggregate cap for all Ordinary Course Professionals shall not

exceed $SQ,000.00 per month.

                       9.            Each Ordinary Course Professional must submit reasonably detailed

billing statements indicating the nature ofthe services rendered, calculated in accordance with

such professional's standard billing practices (without prejudice to the Debtors' normal right to

dispute any such billing statements).

                        10.         If in any given month the fees and expenses for any one Ordinary Course

Professional exceed the Ordinary Course Professional's Monthly Cap, such Ordinary Course

Professional shall be required to apply for approval by this Court of all such Ordinary Course

Professional's fees and expenses for such month. No Ordinary Course Professional shall be

required to submit quarterly or final fee applications solely because such Ordinary Course

Professional's fees and expenses exceeded its Monthly Cap, provided that such Ordinary Course




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Professional obtained Court approval of its excess fees and expenses for such month in

accaxdance with this paragraph.

                      11.         All payments to any one Ordinary Course Prgfessional shall be subject to

sections 328(c) and 330 ofthe Bankruptcy Code, which provides generally that the court may

deny allowance of cgmpensation for services and reimbursement of expenses if such professional

~~rson is not a ~lisi~ter~st~d person, or represents or holds an interest adverse to the interest of

the estate with respect to the matter on which such professipnal person is employed or for

reasons set forth in section 330 of the Bankruptcy Code. In addition to the limits set forth in this

Order, all payments to an Ordinary Course Professional are further subject to the Federal Rules

of Bankruptcy Procedure and the Local Rules of Bankruptcy Practice and Procedure ofthe

United States Bankruptcy Court for the District of Delaware.

                       12.        Within thirty(30) days after the last day of March, June, September, and

December of each year this case is pending, beginning in the peripd of June 2018,the Debtors

shall file with this Court and serve upon the Notice Parties a statement that includes the

following infprmation fpr each ordinary Course Prpfessional: (a)the name ofthe prdinary

Course Professional;(b)the aggregate amounts paid as compensation for services rendered and

reimbursement of expenses incurred by such Ordinary Course Professional during the statement

period; and (c)a short statement ofthe type of services rendered by such Ordinary Course

Professional.




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                      13.        Notwithstandin~vthing else in this Order, nothing in the order shall

authorize the debtors to pa~tlle ire-petition claims of any non-attonlev Ordinary Course

Professional.

                      14.        -~-3:This Court shall retain jurisdiction to hear and determine all matters

arising frpm or related to the implementation ofthis Order.




Dated:
           Wilmington, Delaware                                      The Honorable Christopher S. Sontchi
                                                                     United States Bankruptcy Judge




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                                                                  EXHIBIT A

                             Profession~is Utilized in the Qrdinaiy Course of Business




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  Name of Professional                                                        Type of Professional

  Winstt~n & 5trat{~~~ LLP                                                NetPo~a and M&A afitari~e~~
  La~~~ ~liices cif Kevin :E. I~.ee~la~i                                  ~ciierai ~ouz~s~l
  ~[7i1~1I7 R.CC~IIO                                                      ~{?111I321121IC~1~1t3i1S
  ~aC;L'~'IS R.00c1 RO~~I~f',I'b~I' ~~1CIS~tf;                            ~c`I~f;It~ c`I~~C}I`Il~
  Patter 1'~ndersc~n Gorroax~ LLP                                         D~la~~~~re co~at~sei i~~ suit ~~-ith NetPosa
  Lew CJfficers of'Ciart Suds                                             Labor attorney




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                                                                EXHIBIT I3

                          ORDINARY C~URSF,PROFF,SSIDNAL DECLARATION




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                             IN THF,UNITF,D STATES BAllTKRUPTCY COURT

                                      FUR THE DISTRICT OF D~LAWAR~


 In re:                                                           )       Chapter l l

  ARECONT VISION I--IOLDINGS LLC., et al.,'                       )       Case Nn. 1K-11142(CSS)

                                                                  ~(Jointly Administered)
                                          Debtors.

        DISCLOSURE DECLARATION OF ORDINARI'COURSE PROFESSIONAL

                      I                      herebydeclare that the following is true to the best of my

  lcnowled~e, information and belief:

                      I am a                           of         (the "Firm") which maintains offices at

   address .

                      This Declaration is submitted. in connection with an order of the United States

  Bankrubtc~Court for the District of Delaware dated                         ,2018, authorizing; the above-

  captioned debtors and debtors in possession Lhe "Debtors")to retain. certain professionals in the

  ordinary course of hu~iness during the ~endenc~ofthe :Debtors' chapter 11 case (the "Case").

                      The~iron, through me and members of the; firm have r~resented anc~ advised the

  Debtors as                          with respect to a broad ran e~, of aspects of.'the Debtors' business,

  including                                                               since (insert datel.

                      The Debtors have rec~uested and the Firm has agreed, to continue to provide

  services to the Debtors pursuant to section 327 of cha~ater l l of title 11 oi~th.e United States Code




 'The Debtors and the last four digits of their IJ S tax identification number are Arecont Vision I-3oldir~~s, LLC
 (9187) Arecont Vision LLC(1410 ,and Arecont Vision[C llISC (5376) The Debtors' noticing address in these
 chapter 1 ]cases is 425 Colorado Street Suite 700 Glendale CA 91205.


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(the "Bankru~pte~ Cade") with respect to such matters. Additionally, the Debtors have requested,

and the Firm proposes to render, the following services to the Debtors: [Inset~t description].

                      The Firm's current custamar~ hourly] rates, subject to change from time to time,

are $                            In the normal course of business, the Finn revises its re ular hourly] rates

on                        of each. year and requests that, effective                       of each year, the

aforementioned rates be revised to the regular [1lourly] rates which will be in effect at that tinge.

                       T'o the best cif my k~lowle~~.7e, fc.~nle~ after due inquiry, nether ~, the Finn, nor

an~n~loyee tllereoi'has any connection with the Debtors or currentlyrepresents any of their

creditors other parties-in-interest the Office of the United States Trustee or andperson

employed by the Office of the United States Trustee with respect to the matters upon which it is

to be en~a~ed and. the Firn1 does not by reason of any direct or .indirect relationship to,

connection with or interest in the Debtors hold or represent an~nterest adverse to the Debtors,

its estate and creditors, except[                                      1.

                       Thus I believe that the T'irm's representation of such entities in matters entirely

unrelated to the Debtors is not adverse to the Debtors' interests or the interests of their creditors

or estate in respect of the matters for which the Firm will be en~a~ed nor will such services

impair the Tir~n's abilit~to represent the Debtors in the ordinary cau.rse in this case.

                      In addition although unascertainable at this time after due inquiry due to the

ma€mitude ofthe Debtors' potential universe of creditors and the Firm's clients, the Firm may

have in the past re~tesented currently represent and may in the s=uture eepresent entities that are

claimants of the Debtors in matters entirely unrelated to the Debtors and. its estate. Tl~e Firm

does not and will not represent any such entity in connection with this pending; case and does not




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have andrelationship with an~such entity attarne~s or accountants that would be adverse to the

Debtors or its estate.

                     The Firm's process of ascertaining what if and comlection it may have with any

interest adverse to the Debtors its estate and creditors, consists of the fallowing:

                     In tll~ast near the Firm has rendered services that have not yet been billed or

that have been billed but with respect to which~ayment has not yet been received. The Firin is

~urren~ly ~~~e~ $                          ~z~ ~ccc~unt of such prep~tition services,

                     In 1i~11t oCthe Foregoing I believe that the rirm does not hold or represent any

interest materiallyadverse to the Debtors its estate or creditors, as identified to the Firm, with

respect to the matters in which the film will be enda~d•

                     Fxcept as set forth herein no promises have been received by the Firm. or any

partner associate or other professional thereof as to compensation in connection with this Case

other than in accordance with the provisions of the Bankruptcy Code the Federal Rules of

I3ankru~tcy Procedux•e the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptc~Court for the District of Delaware and. orders of this Court.

                     "Ihe I~irm further states that it has not shared nor agreed to share any

compensation received in connection with this Case with another party ar person., other than as

permitted by section 504(b) of the Bankruptcy Cade and Bankruptcy Rule 201 F.

                     The foregoing constitutes the; statement of the Firm pursuant to sections 329 and

504 of'the ~ankruptcv Code and rederal Rules of bankruptcy Procedure 2014 and 2016(b).




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                         I declare under penaltX of perjurX under the laws of the United States of America

 that the foregoing is true and correct.


                                                                   NAME
                                                                   A[_ DDKESSI




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